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                                                       U.S. Department of Justice

                                                       Matthew M. Graves
                                                       United States Attorney

                                                       District of Columbia


                                                       Patrick Henry Building
                                                       601 D St., N. W.
                                                       Washington, D.C. 20530




                                                       April 29, 2024

VIA EMAIL
Ethan B. Corlija
Attorney at Law
5205 Hampton A venue
St. Louis, Missouri 63109
ecorlija(@sbcglobal.net

                       Re:    United States v. John Dine
                              Criminal Case No. 24cr259

Dear Mr. Corlija:

       This letter sets forth the full and complete plea offer to your client, JOHN DINE
(hereinafter referred to as "your client" or "defendant"), from the Office of the United States
Attorney for the District of Columbia (hereinafter also referred to as "the Government" or
"this Office"). _ This plea offer expires on May 15, 2024. If your client accepts the terms and
conditions of this offer, please have your client execute this documeI1t in the space-provided
below. Upon receipt of the executed document, this letter will become the Plea Agreement
(hereinafter referred to as "this Agreement"). The terms of the offer are as follows:

       1.      Charges and Statutory Penalties

        Your client agrees to plead guilty to two counts of a four-count Information, to be filed in
the District Court of the District of Columbia, charging your client with Disorderly and Disruptive
Conduct in a Capitol Building or Grounds, in violation of 40 U.S.C. § 5104(e)(2)(D) (Count Three)
and Parading, Demonstrating, or Picketing in a Capitol Building, in violation of 40 U.S.C.
§ 5104(e)(2)(G) (Count Four). 1

       Your client understands that a violation of 40 U.S.C. § 5104(e)(2)(D) carries a maximum
sentence of six (6) months of imprisonment, pursuant to 40 U.S.C. § 5109(b); a term of probation
of not more than five (5) years, pursuant to 18 U.S.C. § 356l(c); a fine of not more than $5,000,

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 Count One of the information will charge a violation of 18 U.S.C. § 1752(a)(l) and Count Two
of the information will charge a violation of 18 U.S.C. § 1752(a)(2).

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